Case 8:18-CV-00352-SDI\/|-AAS Document 1 Filed 02/12/18 Page 1 of 2 Page|D 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

TAMPA DIVISION
CASE NO.:

UNITED STATES OF AMERICA,

Plaintiff,
v.
NANCY CONCEPCION

Defendant.

COMPLAINT

 

 

 

TO THE HONORABLE `UNITED STATES DISTRICT COURT JUDGE:
The United States of Arnerica, plaintiff, alleges that:
Ju risdiction
1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. 1345 .

Venue

2. The Defendant is a resident of Hillsborough County, Florida within the jurisdiction of this

Court.
The Debt

3. The debt owed the USA is as follows:

A. Current Principal (after' application of all

priorpayments, credits and ojf‘»‘ets) $9,374.00
B. Current Capitalized Interest Balance and $5,378.95
Accrued Interest
Total OWed - Claim Number 2009A71094 $14,752.95

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LAW oFFlcEs

BECKER & POL[AKOFF, P.A.
121 ALHAMBRA PLAZA, lOTI~l FLOOR - CORAL GABLES, FL 33134
TELEPHONE (305) 262-4433

Case 8:18-CV-00352-SDI\/|-AAS Document 1 Filed 02/12/18 Page 2 of 2 Page|D 2

The Certificate of Indebtedness, attached as Exhibit “A” show the total owed excluding attorney's
fees and CIF charges The principal balance and the interest balance shown on the Certificate of
Indebtedness, is correct as of the date of the Certificate of Indebtedness after application of all prior

payments, credits, and offsets. Prejudgment interest accrues at the variable rate of 5.01% per annum or
31.29 per day.

Failure to Pay_

4. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.
WHEREFORE, Plaintiff, UNITED STATES OF AMERlCA, prays for judgment:
A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the
date of judgment, all administrative costs allowed by laW, and post-judgment interest pursuant to 28
U.S.C. §1961 that interest on the judgment be at the legal rate until paid in full;
B. For attorneys' fees to the extent allowed by law; and,

C. For such other relief Which the Court deem er.

  

DATED this 43 l day of January, 2018.

By:
Steven M. Dav , (F rida Bar No. 894249)
Email: sdavis@becker~polialcoff.com

Beclcer & Poiiakoff, P.A.

121 Alhambra Plaza, 10th Floor

Coral Gables, FL 33134

Telephone: (305)262-4433

Facsimile: (305) 442-2232

Attomeysfor Plaz'nti]jf United States ofAmerica

 

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LAW OFFICES
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Case 8:18-CV-00352-SDI\/|-AAS Document 1-1 Filed 02/12/18 Page 1 of 1 Page|D 3

U.- S. DEP'ART'MENT OF EDUCA'_].`{G_.N
SAN FRAN€I_SCO,` CAL[FORNEA

_€ERTI¥I:€ATEonir`~ronsrnpnnss#:t orr
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4'¢14>1111?1116.7-1 '

l_ certify that U. S De‘pa'ttment of: Educa`tio'n records show that the BORROW£R named above rs indebted to the
United States in the amount stated beiow plus additional interest from 01!10!2013

On: or about 08/ 161/1994 0'51113}1997 & 08/`1 511997 the 13011110\1`/13|1 executed promissory note(s_) to secure ioan(s)
ot‘-$Z 623 00 $3', 500. 09 & $5_ 500. 00 item EDUCA[D C_NEW BR,UNSWICK NJ_).. Thi`s loan was disbursed t"or

32 625 00 331 500. 00 dc 35 024 00 on 101051199'.47, 12/2311'.1994-, 05129!1997; 101131199.7 &.- 12/25/ l997 at a variabie
rare of interest to be established annuaiiy by die Depnrtment of" Educatlon The loan obligation was guaranteed by
NE,-W JERSEY H-IG.l-IER EDUCAT 1014 ASSIS-'I`ANCE 'AUTHQRITY,- and then rg_ins`nred by1]1e _Deparfment of
-§du¢atiojn under loan guaranty programs authorized under Titie ZV~B of the ngher Educanon A`ct_ of 1965,115
amended 20 U S .C 1071 et seq. (3`4 C`.' F-. R. Parl 682) The homer-1 demanded payment accordzng to the terms nf`die
:n__ot_e_ and credited $1_,269.00111.111& outstanding principal owed on the ioaa The BGRROWER defaulted on the
obligation on 07)'26)'2001 &: 07/22/2001_€111<1 th"e` hoider- f led a claim on the loan guarantee

Due' t'o this default the guaranty agency paid a claim 11`1- the amount of $ 1 0 647 90 to t-he holden The guarantor was
then reimbursed for that claim payment by the Deparl:nie'nt under its reinsurance agreement. Pursua_nt to 34 C F R. §
682 410(_1))(4) onee`.l the guarantor pays on a default ciaim, the entire amount paid becomes due to the guarantor as
principal The guarantor attempted to collect this debt from the BORROWER The guarantor was unable to oo¥i_ect
the fail amount due, and on `i09113!2-,007 assigned its right and title to the loan to the Department.

Since assignment of the loan, the De_parcment` has credited a total ot`$G 00`111 payments from ali sources, including
Treasu_ry Departmcnt offsets if any', to the balance Ai`ter appitcation of- these payments _the BORRCWE_R: now
owes the Un_ited Stntes the following

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lnt_e'res`t accrues on the principal shown here at the current rate of 4 03 % and a daily rate ot`_.Sl .05 through lone 30
2018, and thereafter at such rate as the Dep_art`rnent establishes pursuant to section 427A oi`- the Higher E'du<:atio_n A"ct

of 1965_-_ as amended _ 20 U S_. C_. _l_O_'I.?a_.

Pursuant 1012-3 U".S.`C.._. §§ 1'746(2`-_)`, l~cerdfy:_urrder pe_naity of"perjury:_tlmt;fhe foregoing-is true and:correet.

Ex‘ecute'd-on:`r !"_ jail _iz

 

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Case 8:18-CV-00352-SDI\/|-AAS Document 1-2 Fi|e_d 02/12/18 Page 1 012 Page|D 4

1344 (Rev. 12112)

The JS 44 civil cover sheet and the information contained herein neither re lace nor sup lelnent the filin
provided b local rules of court. This form, approved by the Judicial Con erence of the nited States in

CIVIL COVER SHEET

purpose o initiating the civil docket sheet. (SEE JNSTRUCTIONS ON NEXT PAGE OF TH!S FORM.)

nd service of pleadings or other papers as re§uired by law, except as

a
§optomber 1974, is requlred for the use of the

lerk of Court for the

 

I. (a) PLAINTIFFS
UN|TED STATES OF AMER|CA

(b) County of Residence of First Listed Plaintiff

(EXCEPTIN U.S. PLAINT!FF CASES}

(C) Al;tOl'neyS (Fl'rm Name, Addres's. and Telephone Num'ber)
STEVEN Nl. Dl°tV|Sl BECKER 81 POL|AKOFF, P.A. (305) 262-4433

121 ALHAN|BRA PLAZA. 10TH FLOOR
CORAL GABLES, FLOR|DA 33134

DEFENDANTS

NUTE:

Attorneys HfKnown)

 

County of Residence of First Listed Defenclant

NANCY CONCEPC|ON

_ HlLLSBOROUGH

(IN U.S. PLA]NTIFF CASE.S’ ONIJQ

IN LAND CONDEMNATION CASES, USE THE LOCAT[ON OF
THE TRACT OF LAND TNVOLVED.

 

II. BASIS OF JURISDICTION (Pfu'ce an “X" m One Box Om[y')

d 1 U.S. Govemrnent
Plaiutlfl`

|J 3 Fed'.eral Queslion

13 2 U.S. Government
Defenclant

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IV NATURE OF SUIT (Place an "X” in One Box Onlfv)
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D 110 Insumnce ` PERSONAL lN.IURY

|‘J 120 Marine |J 310 Airp]ane
|:l 130 Miller Act |J 315 Airplane Product
l:l 140 Negotiable lnstmment liability
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& Enforcement of .ludgment Slander
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ij 365 Personal lnjury -
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(Far' Dr'ver.s)‘ty Cases Onhl)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Pi'ace cm "X" in One BoijrPiaim['}_'f

and One Baxfor Deferrdom)

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Act

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or Defendant)
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26 USC 7609

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375 False Claims Act

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Depoitation

470 Racketeer lnfluenced and
Corrupt Organizntions

480 Consumer Credil

490 Cablei'Sat TV

850 Securities/Commodit.iesf
Exchange

890 Other Statutmy Actions

891 Agrieultural Aots

893 Environmental Matters

895 Freedom of Information
Act

896 Arhitration

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Cite the U.S. Civil Statute under which you are filing (Da not cite jurisdictional manner unless diversr'g:).'

 

VI. CAUSE OF ACTION

 

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VII. REQUESTED IN l:l CHECK IF THIS IS A CLASS ACT[ON MAND $ CHECK YES only if demanded in complaint
COMPLAINT: UNDER RULE 23,F_R.Cv_1=. 14,752.95 l wmf DEMAND: cl Yes UN¢
VIIl. RELATED CASE(S) _ \ /
IF ANY (See insrrucfloirs).' JUDGE ' / -DOCKET NUMBER
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RECEIPT #

Case 8:18-CV-00352-SDI\/|-AAS Document 1-2 Filed 02/12/18 Page 2 of 2 Page|D 5

JS 44 Reverse (Rev. ]2/12)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the .T udicial Conference of the United States in Septernber 1974, is
required for the use of the Clerlc of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(C)

II.

III.

IV.

VI.

VII.

VIII.

Plaintiffs-Defendants. Enter names ([ast, iirst, middle initial) of plaintiff and defendant If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residenee. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of tiling. In U.S. plaintiff cases, enter the maine of the county in which the first listed defendant resides at the time of tiling. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdietion. The basis of jurisdiction is set forth under Rule S(a), F.R.Cv.P., which requires that jurisdictions be shown iii pleadings Place an "X"
in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown beiow.

United States plaintiff (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a paity, the U.S. plaintiff or defendant code takes
precedence and box 1 or 2 should be marked.

Diversity ofcitizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residenee (citizenship) of Principal Parties. This section ofthe JS 44 is to be completed if diversity of citizenship Was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the Statistical clerk(s) in the Administrative Office to determine the nature of Suit. If the cause fits more than
one nature of suit, select the most definitive

Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appeilate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) Foi‘ cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity, Example: U.S. Civil Statute: 47 USC 553 BriefDescription: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Dernand. Check the appropriate box to indicate Whetl'ier or not ajury is being demanded

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorncy Signatul'e. Date and sign the civil cover sheet.

 

